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                    UNITED STATES OF AMERICA
         EASTERN DISTRICT OF MICHIGAN -- SOUTHERN DIVISION

ALEXANDER MANGANI,

        Plaintiff,                               DEMAND FOR JURY TRIAL

-vs-                                             Case No.
                                                 Hon.

BRIGHTON MOTORS, LLC, and
ALLY FINANCIAL INC.,

        Defendants.

                       COMPLAINT AND JURY DEMAND

                                   JURISDICTION

1.      This court has federal question jurisdiction pursuant to 28 U.S.C. §§ 1331,

        1337.

2.      As to any supplemental claims set forth herein, there are no exceptional

        circumstances or other compelling reasons for this Court to decline jurisdiction

        and the interests of justice would best be served if this Court heard these claims

        along with the federal claims.

                                         PARTIES

3.      The Plaintiff to this lawsuit is Alexander Mangani who resides in Brighton,

        Michigan in Livingston County.



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4.      The first-named Defendant to this lawsuit is BRIGHTON MOTORS, LLC

        (“BMLLC”) which is a corporation doing business in Michigan and which by

        statute and condition of licensing, may be served through its irrevocable

        resident agent, the BUREAU OF REGULATORY SERVICES, BUSINESS

        LICENSING AND REGULATION DIVISION, STATE OF MICHIGAN,

        CASHIER’S UNIT, 7064 CROWNER DR., DIMONDALE, MI 48821.

5.      The second-named Defendant to this lawsuit is ALLY FINANCIAL INC.

        which is a corporation doing business in Michigan and which may be served

        through its resident agent, THE CORPORATION COMPANY, at 40600 ANN

        ARBOR RD E STE 201, PLYMOUTH, MI 48170.

6.      At all relevant times BMLLC – in the ordinary course of its business –

        regularly extended or offered consumer credit for which a finance charge is, or

        may be imposed or which, by written agreement is payable in more than four

        installments and is the person to whom the transaction which is the subject of

        this action is initially payable.

7.      BMLLC is a creditor under TILA, 15 U.S.C. § 1602(g) and regulation Z §

        226.2(a)(17).




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8.      Under M.C.L. § 492.114a and pursuant to the express terms of the contract,

        ALLY FINANCIAL INC. is subject to all claims and defenses that arise

        against the seller for the sale of the vehicle, and is jointly liable to the extent

        of any payments received from Plaintiff.

                                         VENUE

9.      The transactions and occurrences which give rise to this action occurred in

        Livingston County.

10.     Venue is proper in the United States District Court for the Eastern District of

        Michigan.

                             GENERAL ALLEGATIONS

11.     On or about August 11, 2023, Plaintiff purchased a certain 2016 Ram 1500

        SLT, VIN 1C6RR7GT1GS280927 (“the vehicle”) from BMLLC and BMLLC

        extended credit to Plaintiff as evidenced in the retail installment contract.

12.     The retail installment contract is currently held by ALLY FINANCIAL INC.

13.     In an effort to defraud the Plaintiff, BMLLC failed to provide the Plaintiff with

        a copy of the retail installment contract which he could have and keep prior to

        consummation of transaction for the sale and finance of the vehicle.

14.     As a result of this failure to provide disclosures prior to consummation of the

        transaction, BMLLC conned the Plaintiff into agreeing to purchase three “soft

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      add-ons” which the Plaintiff did not ask for and which the Plaintiff did not

      want and which the Plaintiff would never have purchased had he known they

      were being added to the contract; specifically, BMLLC slipped two service

      contracts – one for $4,500,.00 and another for $1,500.00 – into the contract

      unbeknownst to the Plaintiff, and also charged the Plaintiff $1,798.00 for

      “dealer prep” which the Plaintiff did not ask for nor agree to and which did not

      benefit the Plaintiff in any way, which added no parts nor labor to the vehicle,

      which was never disclosed to the Plaintiff and the Plaintiff would never have

      agreed to, had he had the opportunity for a meaningful review of the retail

      installment contract.

15.   Upon information and belief, BMLLC failed to itemize the $1,798.00 “dealer

      prep” charge, but instead rolled it into the cash price of the vehicle.

16.   The dealer prep charge was for absolutely nothing and it was a way for

      BMLLC to increase the cash price on a vehicle which was being financed.

17.   Upon information and belief, BMLLC regularly adds a “dealer prep charge”

      to the cash price of the vehicle for customers who choose to finance their

      vehicles.




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18.   After consummation of the credit transaction, BMLLC did not provide the

      Plaintiff with every page of the retail installment contract as required under

      Michigan law.

19.   Plaintiff asked BMLLC in writing to refund the $7,798.00, however, BMLLC

      refused to return the dealer prep fee.

20.   Plaintiff suffered actual damages as a result of the acts and omissions set forth

      herein in the amount of $1,798.00.

21.   Plaintiff is also entitled to his costs, attorney fees, and $2,000.00 statutory

      damages under 15 U.S.C. § 1640(a).

                      COUNT I -- Truth In Lending Act

                                     (BMLLC)

22.   Plaintiff incorporates the preceding allegations by reference.

23.   BMLLC was required to make the disclosures required by 16 U.S.C. § 1638

      prior to consummating the sale of the vehicle.

24.   Those disclosures were required to be made in writing, in form that could be

      kept by the consumer so that consumers may shop for credit prior to engaging

      in a credit transaction.

25.   BMLLC failed to make those disclosures in a timely fashion in violation of 15

      U.S.C. § 1638(a)(4).

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26.   By failing to provide Plaintiff with a copy of truth in lending disclosures at the

      time and in the manner prescribed by Regulation Z of the Truth in Lending

      Act, the dealer has violated the federal Truth in Lending Act, 15 U.S.C. §

      1601.

27.   BMLLC failed to accurately disclose the cash price of the vehicle.

28.   The failure to properly disclose the cash price of the vehicle consequently

      caused a failure to accurately disclose the amount financed in violation of 15

      U.S.C. § 1638; 16 CFR § 226.18 (b) and (c).

29.   BMLLC improperly itemized a charge in the amount of $1,798 for dealer prep

      as an amount financed when in fact that charge was a finance charge within the

      meaning of Reg Z § 226.4.

30.   BMLLC failed to accurately disclose the applicable finance charge as required

      by 15 U.S.C. § 1638 and Reg Z § 226.18(d)

31.   BMLLC failed to accurately disclose and itemize the amount financed in

      violation of 15 U.S.C. § 1638, Reg Z § 226.18(b), and Reg Z § 226.18(c).

32.   As a consequence of failing to accurately state the actual finance charge,

      BMLLC also misstated the applicable “APR” in violation of 15 U.S.C. § 1338

      and Reg Z § 226.18(e).




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33.   BMLLC failed to accurately disclose the applicable "APR" as required by 15

      U.S.C. § 1638; Reg Z § 226.18(32); Reg Z § 226.22.

34.   By falsely and inaccurately misstating the APR, finance charge, and amount

      financed due to the inflation of the purchase price of the vehicle, BMLLC

      violated 15 U.S.C § 1638(a)(3), entitling Plaintiff to recover statutory damages

      under 15 U.S.C. § 1640.

35.   BMLLC is liable to plaintiff for actual and statutory damages to be determined

      at trial, costs, and statutory attorney fees in accordance with 15 U.S.C. § 1640.

       COUNT II -- Violation of Michigan Consumer Protection Act

                     (BMLLC & ALLY FINANCIAL INC.)

36.   Plaintiff incorporates the preceding allegations by reference.

37.   Under M.C.L. § 492.114a and pursuant to the express terms of the contract,

      ALLY FINANCIAL INC. is subject to the claims set forth in this Count that

      arise against the seller for the sale of the vehicle, and is jointly liable to the

      extent of any payments received from Plaintiff.

38.   BMLLC is engaged in trade or commerce as that terms is defined in M.C.L. §

      445.902.

39.   BMLLC has engaged in one or more of deceptive or unfair practices prohibited

      by the Michigan Consumer Protection Act, M.C.L.§ 445.903, including but not

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   limited to the following:

   a.    Representing to a party to whom goods or services are supplied that the

         goods or services are being supplied in response to a request made by or

         on behalf of the party, when they are not.

   b.    Causing a probability of confusion or of misunderstanding with respect

         to the authority of a salesperson, representative, or agent to negotiate the

         final terms of a transaction.

   c.    Causing a probability of confusion or of misunderstanding as to the

         legal rights, obligations, or remedies of a party to a transaction.

   d.    Causing a probability of confusion or of misunderstanding as to the

         terms or conditions of credit if credit is extended in a transaction.

   e.    Failing to reveal a material fact, the omission of which tends to mislead

         or deceive the consumer, and which fact could not reasonably be known

         by the consumer.

   f.    Entering into a consumer transaction in which the consumer waives or

         purports to waive a right, benefit, or immunity provided by law, unless

         the waiver is clearly stated and the consumer has specifically consented

         to it.




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   g.    Failing, in a consumer transaction that is rescinded, canceled, or

         otherwise terminated in accordance with the terms of an agreement,

         advertisement, representation, or provision of law, to promptly restore

         to the person or persons entitled to it a deposit, down payment, or other

         payment, or in the case of property traded in but not available, the

         greater of the agreed value or the fair market value of the property, or to

         cancel within a specified time or an otherwise reasonable time an

         acquired security interest.

   h.    Taking or arranging for the consumer to sign an acknowledgment,

         certificate, or other writing affirming acceptance, delivery, compliance

         with a requirement of law, or other performance, if the merchant knows

         or has reason to know that the statement is not true.

   i.    Gross discrepancies between the oral representations of the seller and

         the written agreement covering the same transaction or failure of the

         other party to the transaction to provide the promised benefits.

   j.    Charging the consumer a price that is grossly in excess of the price at

         which similar property or services are sold.




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      k.      Making a representation of fact or statement of fact material to the

              transaction such that a person reasonably believes the represented or

              suggested state of affairs to be other than it actually is.

40.   Plaintiff suffered damages as a result of these violations of the Michigan

      Consumer Protection Act.

                COUNT III — Motor Vehicle Sales Finance Act

                      (BMLLC & ALLY FINANCIAL INC.)

41.   Plaintiff incorporates the preceding allegations by reference.

42.   Under M.C.L. § 492.114a and pursuant to the express terms of the contract,

      ALLY FINANCIAL INC. is subject to the claims set forth in this Count that

      arise against the seller for the sale of the vehicle, and is jointly liable to the

      extent of any payments received from Plaintiff.

43.   BMLLC failed to provide the Plaintiff with a true copy of the retail installment

      contract as required by M.C.L. § 492.101 et seq.

44.   Plaintiff suffered the damages set forth above by reason of the BMLLC’s

      violations of the MVSFA.

           COUNT IV — Motor Vehicle Installment Sales Contract Act

                      (BMLLC & ALLY FINANCIAL INC.)

45.   Plaintiff incorporates the preceding allegations by reference.

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46.   Under M.C.L. § 492.114a and pursuant to the express terms of the contract,

      ALLY FINANCIAL INC. is subject to the claims set forth in this Count that

      arise against the seller for the sale of the vehicle, and is jointly liable to the

      extent of any payments received from Plaintiff.

47.   BMLLC failed to provide the Plaintiff with a true copy of the retail installment

      contract as required by as required by M.C.L. § 566.302 et seq.

48.   Plaintiff suffered damages in the amount of the finance charge imposed.

                                  JURY DEMAND

49.   Plaintiff requests a jury trial in this case.

                             REQUEST FOR RELIEF

      Plaintiff requests that this Honorable Court assume jurisdiction over this case

and including all supplemental claims, award actual damages, statutory damages,

costs, and attorney fees.                                   Respectfully Submitted,

                                         ADAM G. TAUB & ASSOCIATES
                                         CONSUMER LAW GROUP, PLC

                                         By:    /s/ Adam G. Taub
                                                Adam G. Taub (P48703)
                                                Attorney for Alexander Mangani
                                                17200 West 10 Mile Rd. Suite 200
                                                Southfield, MI 48075
                                                Phone: (248) 746-3790
                                                Email: adamgtaub@clgplc.net
Dated: November 21, 2023

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